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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 MANUEL BARRERA and MELVIN ALMENDARES,
 On behalf of themselves, individually, and on behalf
 of all other similarly-situated,

                                                   Plaintiff,                            ANSWER
                               -against-
                                                                         Civil Action No. 18-cv-04558 (JMA) (GRB)
 PEPE ROSSO 24 INC. d/b/a PEPE ROSSO, and
 ROSSO UPTOWN, LTD. d/b/a ROSSO UPTOWN
 PIZZERIA & RESTAURANT and/or BRICK
 OSTERIA, and MICHAEL TIZZANO, an individual,
 and MASSIMO GAMMELLA, an individual,

                                                     Defendants.
 --------------------------------------------------------------------X


           Defendants, PEPE ROSSO 24 INC. d/b/a PEPE ROSSO, and ROSSO UPTOWN, LTD. d/b/a

 ROSSO UPTOWN PIZZERIA & RESTAURANT and/or BRICK OSTERIA, and MICHAEL TIZZANO,

 an individual, and MASSIMO GAMMELLA, an individual, hereby answer Plaintiff’s Amended

 Complaint as follows:

                                        DEFENDANTS’ ORIGINAL ANSWER

           Pursuant to Federal Rules of Civil Procedure 8(b), Defendants respond to the allegations in each

 corresponding paragraph of the Amended Complaint as follows:

                                                         I.
                                                 NATURE OF THE CASE

                                                           Paragraph 1

           The allegations of Paragraph 1 of the Amended Complaint are statements of either law or fact for

 which an answer is not necessary, but to the extent that such allegations require an answer, they are

 denied.

                                                           Paragraph 2

           Defendants deny the allegations contained in Paragraph 2 of the Amended Complaint.

                                                           Paragraph 3




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           Defendants deny the allegations contained in Paragraph 3 of the Amended Complaint.

                                                 Paragraph 4

           Defendants deny the allegations contained in Paragraph 4 of the Amended Complaint.

                                                 Paragraph 5

           The allegations of Paragraph 5 of the Amended Complaint are statements of either law or fact for

 which an answer is not necessary, but to the extent that such allegations require an answer, they are

 denied.

                                                 Paragraph 6

           Defendants deny the allegations contained in Paragraph 6 of the Amended Complaint.

                                                 II.
                                      JURISDICTION AND VENUE

                                                 Paragraph 7

           The allegations of Paragraph 7 of the Amended Complaint are statements of either law or fact for

 which an answer is not necessary, but to the extent that such allegations require an answer, they are

 denied.

                                                 Paragraph 8

           The allegations of Paragraph 8 of the Amended Complaint are statements of either law or fact for

 which an answer is not necessary, but to the extent that such allegations require an answer, they are

 denied.

                                                    III.
                                                  PARTIES

                                                 Paragraph 9

           Defendants admit only to the extent that Plaintiff acknowledges having employed Plaintiff,

 Barrera, otherwise the allegations contained in Paragraph 9 of the Amended Complaint are denied.

                                                Paragraph 10

           Defendants admit only to the extent that Plaintiff acknowledges having employed Plaintiff,

 Almendares, otherwise the allegations contained in Paragraph 10 of the Amended Complaint are denied.


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                                                 Paragraph 11

           Defendants admit the allegations contained in Paragraph 11 of the Amended Complaint.

                                                 Paragraph 12

           Defendants admit the allegations contained in Paragraph 12 of the Amended Complaint to the

 extent that Defendant, Rosso Uptown, was doing business at that location, however, it has closed its

 operation since.

                                                 Paragraph 13

           Defendants admit only so much of Paragraph 13 of the Amended Complaint that alleges that

 Tizzano was a joint owner and manager of Rosso Uptown for the relevant period. Otherwise, the

 remaining allegations in Paragraph 13 of the Amended Complaint are denied.

                                                 Paragraph 14

           Defendants admit only so much of Paragraph 14 of the Amended Complaint that alleges that

 Gammella was a joint owner of Pepe Rosso for the relevant period. Otherwise, the remaining allegations

 in Paragraph 14 of the Amended Complaint are denied.

                                                 Paragraph 15

           Defendants deny knowledge to be able to form a belief as to the truth of the allegations contained

 in Paragraph 15 of the Amended Complaint.

                                              IV.
                                 COLLECTIVE ACTION ALLEGATIONS

                                                 Paragraph 16

           The allegations of Paragraph 16 of the Amended Complaint are statements of either law or fact

 for which an answer is not necessary, but to the extent that such allegations require an answer, they are

 denied.

                                                 Paragraph 17

           Defendants deny the allegations contained in Paragraph 17 of the Amended Complaint.




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                                               Paragraph 18

         Defendants deny the allegations contained in Paragraph 18 of the Amended Complaint.

                                               Paragraph 19

         Defendants deny the allegations contained in Paragraph 19 of the Amended Complaint.

                                               V.
                                        BACKGROUND FACTS

                                               Paragraph 20

         Defendants admit the allegations contained in Paragraph 20 of the Amended Complaint, except

 deny as to the designation of the business as “popular” and “busy”.

                                               Paragraph 21

         Defendants deny the allegations contained in Paragraph 21 of the Amended Complaint.

                                               Paragraph 22

         Defendants admit the allegations contained in Paragraph 22 of the Amended Complaint, only to

 the extent that Defendant, Gammella, manages Pepe Rosso and that Defendant, Tizzano, managed Rosso

 Uptown, which is now permanently closed for business; the remaining allegations are denied.

                                               Paragraph 23

         Defendants deny the allegations contained in Paragraph 23 of the Amended Complaint.

                                               Paragraph 24

         Defendants admit the allegations contained in Paragraph 24 of the Amended Complaint.

                                               Paragraph 25

         Defendants deny the allegations contained in Paragraph 25 of the Amended Complaint.

                                               Paragraph 26

         Defendants deny the allegations contained in Paragraph 26 of the Amended Complaint.

                                               Paragraph 27

         Defendants deny the allegations contained in Paragraph 27 of the Amended Complaint.




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